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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                  )
                                           )
              vs.                          )          No. 3:09-CR-127(01) RM
                                           )
 MARK FRIEDERSDORF                         )


                                       ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendation upon a plea of guilty issued on January 11, 2010 [Doc. No. 28].

 Accordingly, the court now ADOPTS those findings and recommendation,

 ACCEPTS defendant Mark Friedersdorf’s plea of guilty, and FINDS the defendant

 guilty of Count 2 of the Indictment, in violation of 18 U.S.C. § 922(g)(3), 924(a)(2)

 and (2).

       SO ORDERED.

       ENTERED:       February 1, 2010




                                            /s/ Robert L. Miller, Jr.
                                        Chief Judge
                                        United States District Court
